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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Dermaforce Holdings LLC, et al.,               NO. CV-19-05319-PHX-GMS
10                  Plaintiffs,
                                                   CLERK’S ENTRY OF DEFAULT
11   v.
12   Robert Taitano, et al.,
13                  Defendants.
14
15            Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure and upon
16   application by the Plaintiff, default is hereby entered against Defendants Robert Taitano

17   and Marianne Taitano .
18   DEFAULT ENTERED this 1st day of November, 2019.

19                                            Brian D. Karth
                                              District Court Executive/Clerk of Court
20
21   November 1, 2019
                                              s/ G. Puraty
22                                       By   Deputy Clerk
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